 Case 14-14865         Doc 144     Filed 10/13/17 Entered 10/13/17 14:39:48           Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                          Eastern Division

In Re:                                       )               BK No.:     14-14865
Goran Ilijevski                              )
                                             )               Chapter: 13
                                             )
                                                             Honorable Pamela S. Hollis
                                             )
                                             )               Will
                  Debtor(s)                  )
       ORDER MODIFYING THE AUTOMATIC STAY AND CO-DEBTOR STAY AND
                  WITHDRAWING REQUEST FOR DISMISSAL

       THIS CAUSE coming to be heard on the motion of HSBC Bank USA, National Association as
Trustee for Wells Fargo Asset Securities Corporation, Mortgage Pass-Through Certificates, Series
2006-15, a secured creditor herein, for relief from the automatic stay and co-debtor stay, the Court
having jurisdiction over the subject matter and due notice having been given; and the Court finding that
the mortgage held by said creditor is in default and that the security interest of said creditor is not
adequately protected:

 WHEREFORE, IT IS HEREBY ORDERED:
(1) Pursuant to 11 U.S.C. Section 362(d), that HSBC Bank USA, National Association as Trustee for
Wells Fargo Asset Securities Corporation, Mortgage Pass-Through Certificates, Series 2006-15 its
principals, agents, successors and/or assigns is granted relief from the automatic stay provisions of 11
U.S.C. Section 362(a) and Section 1301(c) by modifying said stay and co-debtor stay to permit them to
pursue all non bankruptcy remedies and work out options as to the property commonly known as 806
Barclay Drive, Bolingbrook, IL 60440.

(2) HSBC Bank USA, National Association as Trustee for Wells Fargo Asset Securities Corporation,
Mortgage Pass-Through Certificates, Series 2006-15's request for dismissal is withdrawn.

(3) No further payments are to be disbursed to HSBC Bank USA, National Association as Trustee for
Wells Fargo Asset Securities Corporation, Mortgage Pass-Through Certificates, Series 2006-15 on its
secured claim.

(4) Rule 4001(a)(3) is waived and HSBC Bank USA, National Association as Trustee for Wells Fargo
Asset Securities Corporation, Mortgage Pass-Through Certificates, Series 2006-15 may immediately
enforce and implement this order granting relief from the automatic stay

                                                          Enter:


                                                                    Honorable Pamela S. Hollis
Dated: October 13, 2017                                             United States Bankruptcy Judge
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